

Douglas Elliman LLC v E.T.A. Realty, Inc. (2021 NY Slip Op 03251)





Douglas Elliman LLC v E.T.A. Realty, Inc.


2021 NY Slip Op 03251


Decided on May 20, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 20, 2021

Before: Renwick, J.P., Manzanet-Daniels, Mazzarelli, Mendez, JJ. 


Index No. 656372/18 Appeal No. 13888 Case No. 2020-03510 

[*1]Douglas Elliman LLC, Plaintiff-Appellant,
vE.T.A. Realty, Inc., Defendant-Respondent.


Cole Hansen Chester LLP, New York (Michael S. Cole of counsel), for appellant.
Tuch &amp; Cohen LLP, Westbury (Kenneth R. Tuch of counsel), for respondent.



Order, Supreme Court, New York County (Arthur F. Engoron, J.), entered August 12, 2020, which denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint, unanimously affirmed, without costs.
Plaintiff is not entitled to a commission on the sale of defendant's property, because the "letter of interest," which stated, "This LOI does not legally bind the purchaser to any of the terms written," did not constitute a "transaction," as required by the parties' real estate brokerage agreement. Moreover, the subsequent sale at a
different price occurred outside the 90-day period provided for in the agreement. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 20, 2021








